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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 JACOB WHEELER,                                  )
                                                 )
                       Plaintiff,                )      Case No. 1:21-cv-00213-RGA
                                                 )
            v.                                   )
                                                 )
                                                 )      JURY TRIAL DEMANDED
 NEOS THERAPEUTICS, INC.,                        )
 GERALD MCLAUGHLIN, GREG                         )
 ROBITAILLE, BETH HECHT, JOHN                    )
 SCHMID, LINDA M. SZYPER, ALAN                   )
 HELLER, BRYANT FONG, and JAMES                  )
 ROBINSON,                                       )
                                                 )
                       Defendants.               )
                                                 )
                                                 )
                                                 )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: May 6, 2021                                  LONG LAW, LLC

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